                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION



 UNITED STATES OF AMERICA                     )             DOCKET NO. 5:06CR30-V
                                              )
                     v.                       )
                                              )
 (1) WALTER CHARLES HOGUE                     )
                                              )             ORDER FOR DISMISSAL
       a/k/a “Speedy”                         )            COUNT 7 OF THE SECOND
 (2) PHYSIQUE DALTON                          )             SUPERSEDING BILL OF
       a/k/a “P”                              )                 INDICTMENT
 (3) MICHAEL TODD MCWHORTER                   )
 (4) DANNY LEE CLEMENT                        )
 (5) DESMOND O’NEIL THOMPSON                  )
       a/k/a “Monk”                           )
 __________________________________



       For good cause shown, and for reasons cited in the government’s Motion, this Court

dismisses Count Seven relating to DANNY LEE CLEMENT in the Second Superseding Bill of

Indictment without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, defense counsel and the United States Attorney's Office.


                                                  Signed: August 30, 2007




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